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                        Exhibit 2-8

              Form of Class 10 Election Ballot




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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re                                                            Chapter 11

                                                                 Case No. 23-10831 (MFW)
Lordstown Motors Corp., et al.,1
                                                                 (Jointly Administered)
                                           Debtors.



        CLASS 10 ELECTION BALLOT FOR OHIO SECURITIES CLASS ACTION
        LEAD PLAINTIFF IN CONNECTION WITH MODIFIED FIRST AMENDED
         JOINT CHAPTER 11 PLAN OF LORDSTOWN MOTORS CORP. AND ITS
                            AFFILIATED DEBTORS

                       CLASS 10 – OHIO SECURITIES ACTION CLAIMS

PLEASE CAREFULLY READ THE ENCLOSED INSTRUCTIONS IN THIS CLASS 10
ELECTION BALLOT BEFORE COMPLETING THIS CLASS 10 ELECTION BALLOT.

THIS CLASS 10 ELECTION BALLOT MUST BE COMPLETED, EXECUTED AND
RETURNED SO THAT IT IS ACTUALLY RECEIVED BY THE DEBTORS’
SOLICITATION AGENT ON OR BEFORE DECEMBER 12, 2023 AT 5:00 P.M.
(PREVAILING EASTERN TIME) (THE “VOTING DEADLINE”).

ACCESS TO SOLICITATION MATERIALS:

THE PLAN, DISCLOSURE STATEMENT, AND DISCLOSURE STATEMENT ORDER,
INCLUDING THE ATTACHED SOLICITATION PROCEDURES AND OTHER
EXHIBITS,    MAY   BE    ACCESSED,    FREE   OF    CHARGE   AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN      BY   CLICKING   ON   THE
“SOLICITATION MATERIALS” TAB ON THE HOME PAGE.

YOU CAN ALSO REQUEST, FREE OF CHARGE, COPIES IN PAPER OR FLASH
DRIVE FORMAT OF ANY SOLICITATION PACKAGE MATERIALS BY (A)
CALLING THE DEBTORS’ TOLL-FREE RESTRUCTURING HOTLINE AT (877) 709-
4757 (U.S./CANADA) OR (424) 236-7235 (INTERNATIONAL); (B) VISITING THE
DEBTORS’             RESTRUCTURING              WEBSITE             AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN; (C) WRITING TO LORDSTOWN
PROCESSING CENTER, C/O KURTZMAN CARSON CONSULTANTS LLC, 222 N.

1
    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.


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PACIFIC COAST HIGHWAY, SUITE 300, EL SEGUNDO, CA 90245, OR (D)
EMAILING LORDSTOWNINFO@KCCLLC.COM (WITH ‘LORDSTOWN – CLASS 10
ELECTION’ IN THE SUBJECT LINE). AS SOON AS REASONABLY PRACTICABLE
AFTER RECEIVING SUCH A REQUEST, THE SOLICITATION AGENT WILL
PROVIDE YOU WITH THE COPIES YOU REQUESTED.


        This election ballot is being provided to the Ohio Securities Class Action Lead Plaintiff
of the Ohio Securities Class Action for the Class 10 Election pursuant to Article III.B.10.b of the
Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated
Debtors, filed on [●], 2023 [D.I. [●]] (together with all schedules and exhibits thereto, and as
may be modified, amended, or supplemented, the “Plan”).2 Only the Ohio Securities Action
Lead Plaintiff can effect a Class 10 Election on behalf of Holders of Class 10 Claims.

        The Plan, the Class 10 Election, and the rights of Holders of Class 10 Ohio Securities
Class Action Claims are described in the Debtors’ Disclosure Statement Pursuant to 11 U.S.C.
§ 1125 with Respect to Modified First Amended Joint Chapter 11 Plan of Lordstown Motors
Corp. and Its Affiliated Debtors, filed on [●], 2023 [D.I. [●]] (together with all schedules and
exhibits thereto, and as may be modified, amended, or supplemented, the “Disclosure
Statement”). On [●], 2023, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order (the “Disclosure Statement Order”) approving (i) the
Disclosure Statement as containing adequate information under section 1125 of the Bankruptcy
Code and (ii) the procedures for soliciting votes to accept or reject the Plan (the “Solicitation
Procedures”). Bankruptcy Court approval of the Disclosure Statement does not indicate
approval of the Plan by the Bankruptcy Court. You should review the Disclosure Statement
and the Plan before you make this Class 10 Election.

        You are receiving along with this Class 10 Election ballot, (i) the Notice of (I) Approval
of Disclosure Statement, (II) Establishing Voting Record Date, (III) Hearing on Confirmation of
the Proposed Plan, (IV) Procedures for Objecting to the Confirmation of the Proposed Plan, and
(V) Procedures and Deadline for Voting on the Proposed Plan; and (ii) instructions that will
direct you to the solicitation section of the Debtors’ restructuring website, where all of the
materials contained in the Solicitation Packages are located, including the Disclosure Statement
and all filed exhibits thereto, including the Plan, and the Disclosure Statement Order and all
exhibits thereto.

     IF YOU WISH TO MAKE THE CLASS 10 ELECTION, YOUR ELECTION
MUST BE MADE PURSUANT TO THE INSTRUCTIONS HEREIN AND ACTUALLY
RECEIVED BY THE DEBTORS’ SOLICITATION AGENT ON OR BEFORE
DECEMBER 12, 2023 AT 5:00 P.M. (PREVAILING EASTERN TIME), THE “VOTING
DEADLINE”). IF THE CLASS 10 ELECTION IS NOT RECEIVED BY THE
SOLICITATION AGENT BY THE VOTING DEADLINE, YOUR CLASS 10 ELECTION
WILL NOT BE EFFECTIVE.


2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan or
    the Disclosure Statement, as applicable.


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     IF YOU DO NOT WISH TO MAKE THE CLASS 10 ELECTION, BUT WISH TO
VOTE TO ACCEPT OR REJECT THE PLAN, YOU AND ANY OTHER HOLDER OF
OHIO SECURITIES CLASS ACTION CLAIMS MUST COMPLETE, EXECUTE, AND
RETURN A CLASS 8 – SECTION 510(B) CLAIMS BALLOT SO THAT IT IS
ACTUALLY RECEIVED BY THE DEBTORS’ SOLICITATION AGENT ON OR
BEFORE THE VOTING DEADLINE.

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote or if you vote to reject the Plan or have made a Class 10 Election pursuant
to the Plan. To elect the Class 10 Election, you must complete and return this Class 10 Election
ballot to the Solicitation Agent by the Voting Deadline. If you do not wish to make the Class 10
Election, but wish to vote to accept or reject the Plan, you (and any other holders of Ohio
Securities Class Action Claims) must complete and return a Class 8 Ballot to the Solicitation
Agent by the Voting Deadline, as explained in the Class 8 Section 510(b) Claims Ballot.

        If the Solicitation Agent does not receive this Class 10 Election ballot on or before the
Voting Deadline, which is December 12, 2023 at 5:00 p.m. (prevailing Eastern Time), and if
the Voting Deadline is not extended, the Class 10 Election included in this Class 10 Election
ballot will not count. You may submit the Class 10 Election ballot to the Solicitation Agent by
(1) email at lordstowninfo@kccllc.com (with ‘Lordstown – Class 10 Election’ in the subject
line); (2) standard mail, (3) overnight mail, or (4) personal delivery, so that it is actually
received, in each case, no later than the Voting Deadline.

                    If by standard or overnight mail or personal delivery:

                                  Lordstown Processing Center
                             c/o Kurtzman Carson Consultants LLC
                            222 N. Pacific Coast Highway, Suite 300
                                     El Segundo, CA 90245


        If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’
toll-free restructuring hotline at (877) 709-4757 (U.S./Canada) or (424) 236-7235 (international);
(b) visiting the Debtors’ restructuring website at https://www.kccllc.net/lordstown; (c) writing to
Lordstown Processing Center, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific Coast
Highway, Suite 300, El Segundo, CA 90245 or (d) emailing lordstowninfo@kccllc.com (with
‘Lordstown – Class 10 Election’ in the subject line). Information may also be obtained at
https://www.kccllc.net/lordstown.


THE DEBTORS AND SOLICITATION AGENT ARE NOT AUTHORIZED TO, AND
WILL NOT, PROVIDE LEGAL ADVICE. YOU MAY WISH TO SEEK LEGAL
ADVICE CONCERNING THE CLASS 10 ELECTION.




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                                CLASS 10 ELECTION BALLOT

IF YOU WISH TO MAKE THE CLASS 10 ELECTION, PLEASE COMPLETE, SIGN
AND DATE THIS ELECTION BALLOT AND RETURN IT TO THE SOLICITATION
AGENT BY THE VOTING DEADLINE. IF THIS CLASS 10 ELECTION BALLOT HAS
NOT BEEN PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR CLASS 10
ELECTION MAY NOT BE VALID.

Item 1.          Class 10 Election.

        Pursuant to Article III.B.10.b of the Plan, you, as the lead plaintiff in the Ohio Securities
Class Action may, on behalf of yourself and the putative class in connection with the Ohio
Securities Class Action, elect to accept the treatment set forth in the Plan for Class 10 –
Securities Class Action Claims by returning the Class 10 Election so that it is actually received
by the Debtors’ Solicitation Agent on or before the Voting Deadline.

        By checking the box below, you elect to make the Class 10 Election described above and
in the Plan and Disclosure Statement and thereby agree, that all holders of claims in Class 10 will
be unimpaired, as set forth in Article III.B.10.b of the Plan, and will be deemed to have accepted
the Plan pursuant to section 1126(f) of the Bankruptcy Code.

                                      Elect to make Class 10 Election


        If you do not wish to make the Class 10 Election on behalf of yourself and the putative
class in connection with the Ohio Securities Class Action, but wish to vote to accept or reject the
Plan, you and any other Holder of an Ohio Securities Class Action Claims must complete,
execute, and return a Class 8 – Section 510(b) Claims Ballot so that it is actually received by the
Debtors’ Solicitation Agent on or before the Voting Deadline. Putative class members in respect
of the Ohio Securities Class Action shall be entitled to vote in Class 8 regardless of whether you
timely elect the Class 10 Election, provided, that such votes shall not be counted if the treatment
in Class 10 is approved at the Confirmation Hearing.


                 TREATMENT OF MAKING CLASS 10 ELECTION BALLOT

       If you make the Class 10 Election in a timely manner, the Plan will constitute a
motion to certify the Ohio Settlement Class exclusively for purposes of the Plan and to
receive treatment set forth in Article III.B.10.b of the Plan. If you do not make such an
election, and subject to terms set forth in Article III.B.10.b of the Plan, the Ohio Securities
Class Action Claims shall constitute Class 8 Section 510(b) Claims and shall be classified in
Class 8 under the Plan.

Class 10 – Ohio Securities Class Action Claims

          a.     Classification: Class 10 consists of all Ohio Securities Class Action Claims
                 against the Debtors.



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b.     Treatment: The Ohio Securities Class Action Lead Plaintiff may elect to
       accept the treatment set forth in the Plan by providing the Debtors with
       written notice (the “Class 10 Election”) of his intent to accept such treatment
       on or before the Voting Deadline. If the Ohio Securities Class Action Lead
       Plaintiff makes such election in a timely manner, the Plan shall constitute a
       motion to certify the Ohio Settlement Class exclusively for purposes of the
       Plan and to receive the treatment set forth herein. Such motion shall be
       heard at the Confirmation Hearing.

       If the Ohio Securities Class Action Lead Plaintiff does not elect to accept the
       treatment set forth in the Plan in a timely manner, or if the Bankruptcy
       Court does not certify the Ohio Settlement Class as set forth herein at the
       Confirmation Hearing, or if there is insufficient Post-Effective Date Debtor
       Cash to fund the Ohio Securities Class Action Payment, the Ohio Securities
       Class Action Claims shall constitute Section 510(b) Claims, shall be classified
       in Class 8 (Section 510(b) Claims) and this Class 10 (Ohio Securities Class
       Action Claims) shall be deemed vacant.

       If the Securities Class Action Lead Plaintiff makes a timely Class 10 Election
       and the Bankruptcy Court certifies the Ohio Settlement Class at the
       Confirmation Hearing as set forth herein and there is sufficient Post-
       Effective Date Debtor Cash to fund the Ohio Securities Class Action
       Settlement, on the Effective Date, in full and complete settlement and
       satisfaction of all Ohio Securities Class Action Claims against the Debtors,
       the Debtors shall pay the Ohio Securities Class Action Payment from Post-
       Effective Date Debtor Cash into an escrow established by the Ohio Securities
       Class Action Lead Plaintiff for the benefit of the Ohio Settlement Class.
       Thereafter, the Ohio Securities Class Action Lead Plaintiff and his
       professionals shall seek from the Bankruptcy Court (at their expense) such
       orders as may be required to approve procedures (including opt-out and
       claim procedures) to distribute the Ohio Securities Class Action Payment to
       the Ohio Settlement Class members.

       The Debtors understand that Ohio Settlement Class members may be
       provided with the option to opt-out of the Ohio Settlement Class after the
       Settlement Class has been certified. Any Claims of putative Ohio Settlement
       Class members that opt-out of the Ohio Settlement Class (“Ohio Securities
       Class Action Opt-Out Claims”) shall be treated as Section 510(b) Claims and
       shall receive the treatment provided in the Plan to Section 510(b) Claims if
       and when such Claims become Allowed. Further, in the event that more
       than five percent (5%) of putative Ohio Settlement Class members opt-out of
       the Ohio Settlement Class, the election of the Ohio Securities Class Action
       Lead Plaintiff to elect to be treated in this Class 10 (Ohio Securities Class
       Action Claims) shall be revoked, the Ohio Settlement Class shall be
       decertified, all Ohio Securities Class Action Claims shall be treated as
       Section 510(b) Claims and shall receive the treatment provided in the Plan to
       Section 510(b) Claims if and when such Claims are Allowed, and the Ohio


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             Securities Class Action Payment shall be returned to the Debtors, minus any
             reasonable amounts spent by Settlement Class to implement the treatment
             set forth herein.

             To the extent that the Ohio Lead Plaintiff timely makes the Class 10 Election
             and the Bankruptcy Court certifies the Ohio Settlement Class as set forth
             herein, the sole source of recovery against the Debtors for Holders of Ohio
             Settlement Securities Class Action Claims (other than Securities Class Action
             Opt-Out Claims) shall be the Ohio Securities Class Action Settlement.

             Nothing herein shall be deemed to certify the Ohio Settlement Class for any
             purpose other than to distribute the Ohio Securities Class Action Payment to
             Ohio Settlement Class members. In addition such certification shall not
             prejudice the rights of any defendant in the Ohio Securities Class Action
             (other than the Debtors) to the object to the certification of a class in the
             Ohio Securities Class Action and all such rights are expressly preserved.
             Further, the election of the Ohio Securities Class Action Lead Plaintiff to
             receive the treatment set forth in Article III.B.10 of the Plan shall not affect
             or release any of the rights of any Person to obtain recoveries as a class
             member of any class certified in connection with the Delaware Shareholder
             Class Action, if any.

      c.     Voting: Class 10 is unimpaired by the Plan, and Holders of Ohio Securities
             Class Action Claims are deemed to accept the Plan; provided, that the Ohio
             Securities Class Action Lead Plaintiff shall be entitled to accept the
             treatment set forth in the Plan on or before the Voting Deadline.

Class 8 – Section 510(b) Claims

      a.     Classification: Class 8 consists of all Section 510(b) Claims against the
             Debtors.

      b.     Treatment: On the Effective Date or as soon as reasonably practicable
             thereafter, in full and final satisfaction, compromise, settlement, release, and
             discharge of and in exchange for such Claims, each Holder of an Allowed
             Section 510(b) Claim shall receive a number of shares of Common Stock
             Interests equal to (i) such Holder’s Allowed Section 510(b) Claim minus any
             amounts received by such Holder from any insurance or other third parties
             divided by the product of (A) the volume weighted average share price of the
             Common Stock Interest during the Ohio Settlement Class Period and (B) 15.
             Notwithstanding the foregoing, the Debtors may elect, at their discretion, to
             pay such Holder Post-Effective Date Debtor Cash in an amount equal to the
             number of shares of Common Stock Interests to which such Holder is
             entitled pursuant to this paragraph multiplied by the volume weighted
             average share price of the Common Stock Interest during the thirty (30) days
             following the Effective Date.




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               Any treatment set forth in Article III.B.8 of the Plan shall not affect or
               release any of the rights of any Person to obtain recoveries as a class member
               of any class certified in connection with the Delaware Shareholder Class
               Action, if any.

       c.      Voting: Class 8 is Impaired by the Plan, and Holders of Section 510(b)
               Claims are entitled to vote to accept or reject the Plan.

Item 2. Certifications.

By signing this Class 10 Election ballot, the undersigned entity certifies to the Bankruptcy Court
and the Debtors that:

       a)      as of the Voting Record Date, either: (i) the entity is the Ohio Securities Class
               Action Lead Plaintiff in the Ohio Securities Action; or (ii) the entity is an
               authorized signatory for the entity that is the Ohio Securities Class Action Lead
               Plaintiff in the Ohio Securities Action;

       b)      that it has received a copy of the Disclosure Statement, the Plan and the
               Solicitation Package and acknowledges that the solicitation is being made
               pursuant to the terms and conditions set forth therein;

       c)      it has not submitted any other Class 10 Election ballot with respect to Class 10
               Ohio Securities Class Action Claims or, if any other Class 10 Election ballot have
               been cast with respect to such Claims, then any such earlier received Class 10
               Election ballots are hereby revoked;

       d)      that it has made the Class 10 Election on behalf of all Holders of Class 10 Ohio
               Securities Class Action Claims;

       e)      that it acknowledges that making a Class 10 Election constitutes an acceptance of
               the treatment of such Claim in Class 10 – Ohio Securities Class Action Claims
               under the Plan;

       f)      that it acknowledges and agrees that the Debtors may make conforming changes
               to the Plan to the extent provided by Bankruptcy Rule 3019 as may be reasonably
               necessary; provided that the Debtors will not re-solicit the Class 10 Election of
               the Plan in the event of such conforming changes; and

       g)      The undersigned understands that an otherwise properly completed, executed, and
               timely returned form failing to indicate whether to make a Class 10 Election will
               not be counted.




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Name of Ohio Securities Class Action Lead Plaintiff:

______________________________________________________________
(print or type)

Signature: ___________________________________________________________________

Name of Signatory: ___________________________________________________________
(if other than Ohio Securities Class Action Lead Plaintiff)

Title: _______________________________________________________________________

Address: ____________________________________________________________________

____________________________________________________________________________

Date Completed: ______________________________________________________________

Email Address: ______________________________________________________________

   IF THIS FORM IS NOT RECEIVED BY THE SOLICITATION AGENT ON OR
 BEFORE DECEMBER 12, 2023, AT 5:00 P.M. (EASTERN TIME), YOUR ELECTION
                        WILL NOT BE COUNTED.


       This Class 10 Election Ballot must be delivered to the Solicitation Agent (1) via
email at the appropriate address listed below, or in the enclosed envelope, as applicable. If
you choose to submit your Class 10 Election Ballot via email, you should NOT submit a
hard-copy Class 10 Election Ballot. Please choose only one method for returning your
Class 10 Election Ballot.

                If by Email:                      If by standard or overnight mail or personal
                                                                    delivery:
       lordstowninfo@kccllc.com
(With ‘Lordstown – Class 10 Election’ in                    Lordstown Processing Center
            the subject line)                          c/o Kurtzman Carson Consultants LLC
                                                     222 N. Pacific Coast Highway, Suite 300El
                                                                Segundo, CA 90245


        If you have questions about this Class 10 Election ballot, or if you did not receive access
to a copy of the Plan or any related materials, please contact the Solicitation Agent by (a) calling
the Debtors’ toll-free restructuring hotline at (877) 709-4757 (U.S./Canada) or (424) 236-7235
(international);      (b) visiting     the       Debtors’        restructuring     website         at
https://www.kccllc.net/lordstown; (c) writing to Lordstown Processing Center, c/o Kurtzman
Carson Consultants LLC, 222 N. Pacific Coast Highway, Suite 300, El Segundo, CA 90245 or
(d) emailing lordstowninfo@kccllc.com (with ‘Lordstown – Class 10 Election’ in the subject
line).      Information may also be obtained at https://www.kccllc.net/lordstown.


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THE DEBTORS AND SOLICITATION AGENT ARE NOT AUTHORIZED TO, AND
WILL NOT, PROVIDE LEGAL ADVICE.

     INSTRUCTIONS FOR COMPLETING THIS CLASS 10 ELECTION BALLOT

       To properly complete this Class 10 Election ballot, you must follow the procedures
described below, which explain each of the items contained on your Class 10 Election ballot. If
you have any questions, please contact the Solicitation Agent at the phone number or email
provided above or visit https://www.kccllc.net/lordstown.

The Bankruptcy Court may confirm the Plan and thereby bind the Holders of the Ohio
Securities Class Action Claims, by the terms of the Plan. Please review the Disclosure
Statement for more information.

1.     Submitting the Class 10 Election Ballot

       Via Electronic Mail

       The Solicitation Agent will accept the Class 10 Election ballot, if properly completed, via
email at lordstowninfo@kccllc.com (with ‘Lordstown – Class 10 Election’ in the subject line).

       Use of Hard Copy Class 10 Election Ballot—If Submitting Your Class 10 Election
Ballot Through Standard or Overnight Mail or Personal Delivery:

       You must return the Class 10 Election ballot in either the enclosed envelope or by
standard or overnight mail or personal delivery to:

                                 Lordstown Processing Center
                            c/o Kurtzman Carson Consultants LLC
                           222 N. Pacific Coast Highway , Suite 300
                                    El Segundo, CA 90245


       Any Class 10 Election ballot received via facsimile or other methods will not be
counted. The Solicitation Agent will tabulate a properly completed Class 10 Election ballot
received on or before the Voting Deadline.

2.     To fill out your Class 10 Election Class 10 Election ballot, you must complete the
       following:

       a.      Item 1. Class 10 Election. Subject to the terms and conditions of the Plan, Ohio
               Securities Class Action Claims will receive the treatment as provided for in
               Article III.B.10.b of the Plan for Class 10 – Ohio Securities Class Action Claims,
               and will be administered as provided for in Article VI of the Plan, only to the
               extent such Ohio Securities Class Action Claims make a Class 10 Election. You
               should review the particular treatment of Class 10 before you fill in this Class 10
               Election ballot. For additional discussion of treatment and rights under the
               Plan, please read the Disclosure Statement and the Plan.



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     b.      Item 2. Certifications. By signing this Class 10 Election ballot, the undersigned
             entity certifies to the Bankruptcy Court and the Debtors that:

             1)     as of the Voting Record Date, either: (i) the entity is the Ohio Securities
                    Class Action Lead Plaintiff in the Ohio Securities Action; or (ii) the entity
                    is an authorized signatory for the entity that is the Ohio Securities Class
                    Action Lead Plaintiff in the Ohio Securities Action;

             2)     that it has received a copy of the Disclosure Statement, the Plan and the
                    Solicitation Package and acknowledges that the solicitation is being made
                    pursuant to the terms and conditions set forth therein;

             3)     it has not submitted any other Class 10 Election ballot with respect to
                    Class 10 Ohio Securities Class Action Claims or, if any other Class 10
                    Election ballot have been cast with respect to such Claims, then any such
                    earlier received Class 10 Election ballots are hereby revoked;

             4)     that it has made the Class 10 Election on behalf of all Holders of Class 10
                    Ohio Securities Class Action Claims;

             5)     that it acknowledges that making a Class Election constitutes an
                    acceptance of the treatment of such Claim in Class 10 – Ohio Securities
                    Class Action Claims under the Plan;

             6)     that it acknowledges and agrees that the Debtors may make conforming
                    changes to the Plan to the extent provided by Bankruptcy Rule 3019 as
                    may be reasonably necessary; provided that the Debtors will not re-solicit
                    the Class 10 Election of the Plan in the event of such conforming changes;
                    and

             7)     The undersigned understands that an otherwise properly completed,
                    executed, and timely returned form failing to indicate whether to make a
                    Class 10 Election will not be counted.

ADDITIONAL INSTRUCTIONS FOR THIS CLASS 10 ELECTION BALLOT:

1.   The Class 10 Election Ballot will NOT be counted if:

     a.      the Class 10 Election ballot is submitted by a person other than the Ohio
             Securities Class Action Lead Plaintiff, or represents a person other than the Ohio
             Securities Class Action Lead Plaintiff;

     b.      the Class 10 Election ballot is received after the Voting Deadline unless the
             Debtors have granted an extension in writing (including electronic mail) with
             respect to such election. Delivery of the Class 10 Election shall be deemed made
             only when the original properly executed Class 10 Election ballot is actually
             received by the Solicitation Agent on or before the Voting Deadline;



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     c.      the Class 10 Election ballot is illegible or contains insufficient information to
             permit the identification of the claimant or interest holder;

     d.      any unsigned Class 10 Election ballot; provided, however, for the avoidance of
             doubt, a Class 10 Election ballot submitted via electronic mail shall be deemed to
             contain an original signature; or

     e.      any Class 10 Election ballot that is not completed.

2.   There may be changes made to the Plan that do not cause material adverse effects on an
     accepting Class. If such non-material changes are made to the Plan, the Debtors will not
     resolicit this Class 10 Election or votes for acceptance or rejection of the Plan.

3.   You must choose the Class 10 Election to be treated for all Class 10 Ohio Securities
     Class Action as provided under Article III.B.10.b of the Plan and may not split your
     election.

4.   This Class 10 Election ballot does not constitute, and shall not be deemed to be (a) a
     Proof of Claim or Interest or (b) an assertion or admission with respect to a Claim or
     Interest.

5.   The Class 10 Election ballot is not a letter of transmittal and may not be used for any
     purpose other than to make a Class 10 Election pursuant to the Plan.

6.   In the event that (i) the Debtors revoke or withdraw the Plan, or (ii) the Confirmation
     Order is not entered or consummation of the Plan does not occur, this Class 10 Election
     shall automatically be null and void and deemed withdrawn without any requirement of
     affirmative action by or notice to you.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
CONTAINED IN THE MATERIALS MAILED WITH THIS ELECTION BALLOT OR
OTHER MATERIALS AUTHORIZED BY THE BANKRUPTCY COURT.
IF YOU HAVE ANY QUESTIONS REGARDING THE CLASS 10 ELECTION
BALLOT, RECEIVED A DAMAGED CLASS 10 ELECTION BALLOT OR HAVE
LOST YOUR CLASS 10 ELECTION BALLOT, OR NEED ADDITIONAL COPIES
OF THE CLASS 10 ELECTION BALLOT OR OTHER ENCLOSED MATERIALS,
PLEASE CONTACT THE SOLICITATION AGENT AT:

TELEPHONE: (877) 709-4757 (U.S./CANADA) OR (424) 236-7235 (INTERNATIONAL)

EMAIL: LORDSTOWNINFO@KCCLLC.COM

WEBSITE: HTTPS://WWW.KCCLLC.NET/LORDSTOWN




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